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cmnumbar: \ ‘71»'000

 

 

Off|cial Form 4250

l\ilonti\ly operating Raport for amnil Buel'neu linder chapter 11

PAGE 12/'31

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amended lilan

_ 12111

 

Monlh: gi H, § Dele report llied:

Llne 01 businees: M NAiSC oode:

ln accordance with title ZB, section 1746, of the Un|led States Code, l declare under penalty of perjury
that l have examined tim following small business monthly operating report end the accompanying
Mehments and, to the best of my knowledge, those documents are truo, correct, end complete.

 

 

R¢eponelhlepedy= Lu\(r\ mg (f Pl’§§`> -F'~*C-.#>
Or|g|net elgnawre of responsible piliy g
Prlnled name of responsible party but (I' l H`° old

- 1. queenennain

 

Answar all questions on behalf-of the debtor for the penod,covered by this report, unless otherwlae mdloaled.

lf you answer No to any of the questions in lines 1-0. attach nn explanation and label it Exhlbl’tA.

1. lDlri the buelneee_ operate during the entire reportan Derlod?

2. Do you plan to continue lo operate the business need month?

3 Heve you peld all of your bl|le on tlme?

4» Did you pay your employees on llme?

5. que you depoelled all the receipts for your business into debtor |n possession (DlP) aooounts?
6. Have you timelymed yourtex returns end paid eli or yourtanes?

7. Hive you timely ilied ali other requirle government illngs? l

8, Are you current on your quarterly lee payments to the U.S. Truetee or Benlo‘uptcy Administr‘ator’r‘
9. Hava you timely paid all ol' your lneuranoe premiume?

ll you answer res to any of the questions ln llg_e_e 10~.18: aimed en emenetion end label lt E‘.dribit B.

10. Do you have any bank accounts open other than the DlP eeoaunts?

11. Heve you sold any assets other then lovean

12. Have you sold or uenefened any assets or prowded services le anyone related tothe DIP ln any wey?
13. Dld any insurance oompany.oencel your polch

14. Dld you have any unusual or significant unentlclpared expanses?

15. Have you borrowed mmeyfrom anyone or has anyone made any payments on your bohell`?

18, Hes anyone made en investment in your businese'?

Oliiclal Form 4250 Momhiy operating Report for Sma|l Buslnm Under Chepter 11

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nonmer _ mm $NQ,- . common |B’RGGO

17. Heve you paid any bills you owed before you tlied bankpr u E/ n
18. Have you allowed any checks tn clear the banklhetwero issued before you tired bankruptoy? n y m

 

- z. summary or cash A¢uvlty for All Accounts

19. Totai opening balance of ali aewur\te $ bd 45 rt 3 \

Thls amount must equal what you reported as the cash on hand et the and of the monlh in the previous
month. if this is your ilrst report report the total cash on hand as of the date ot the li|lng of this case.

20. Tohl cash receipts

21.

Allach a listing of all cash received for the month and label lt Erchiblt C. include ali
mail received even lt you have not deposited lt attire bank, collections on
NOBivabioo. credit 69le dupnstls, cash received from other partisan or loans, gifts, or
payments made by outer parties nn your behali. Do not attach bank statements in

rreuorl.=xhrbi¢c:. $lLl.Gl L|"'l_ Z.LI _

Report the total from Exhiblt C hera. \

Totei cash disbursements

Altam a listing of all payments you made |rr the month and label lt i,-‘Z)rhlbr'i D. Llut the
date peid, payee._ purpose and emount. Inciude all nash peyments‘ debit card
transactions, checks issued even 'rF they have net cleared the oanl<. outstanding
checks loaded before the bankruptcy was tried that were allowed to clear this month,

and payments made by other parties on your'behaif. Do not attach bank statements ..,
lnlleuoramrbrrp. _$ 3 §?'050

Repolt the tow from Exhlbit D hero.

22. Net men flow .l. s afrc'(f?"}

Subtrect line 21 nom line 20 and report the result here.
Tille amount may be different from what you may have calculated as nat mont

23. Ca¢h on hand atthe end of the month

Add line 22 + line 19. Report the result here. 3 cl 8?_
Report this figure as the crash orr hand at the beginning of the month on your next operating report = $ '

Thie amount may not macon your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit

 

- e`. unpaid airrs

 

Attanh a list ofall debts (lnoludlng texeo} wnloi'l you have mourrod since the dale you filed banknrptcy but
have nut paid. Label lt Exhlbli E. Indude the delo the debt was inclined who la owed the money, the
pmpoae al the debt, and when the debt is dua. Raport the total from Exh!bit E here.

24. Totai paylbiee $ g _

(Exh/bl¢ E)

 

Oiiiole| Form 4250 Monthty Operetlng Repon for Smaii Businm Llnder Chop¢er 11 page 3

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o¢vrqrmm wm -J-_l`lc - am t IB"7Z,OQ?)
-._4. Money Owed to You

Attaoh a list of all amounts owed to you by your customers for work you have done or merchandise you
have aoid. include amounts owed to you both before, and after you filed bankruptoy, Labar it Exhlblt F.
identity who owes you money, how much la owod, and when payment le due. Report the total from

E!hiblt F here. ,
25. Totai receivables $ q`n/?» -w Go{)l"

(Exmbr¢ 1-7.

-l 5. 'Emp|oyees

 

 

 

 

 

26. What was the number of employees when the case was flied? _5._

27, What is the number of employees as of the date of thle monthly repart? _S_
- s. _Proreasronar Faes

26_. i-iorw much have you paid this month in professional fees related to this bankruptcy case? 5 __L.

29. i-iow mum have you paid in professional fees related to this bankruptcy also since the case was tiied? $ g

30. l-low much have you paid this month in other profousional fees'? $

31. How much have you paid in total other professional fees since filing the oaae? $ g

 

- 7. Projectione

Compare your actual cash receipts end disbursements to what you projected in the previous monrh.
Prrojeoted tigurae in the tim month should match those provided at the initial debtor inierv|ew, if eny.

 

 

 

Columrrh ._ palurn`n B,r_' . ` : z Colum_gC
_ macon -- meal ' , t 2 = nominee

copy lines 3537 nom copy linen 20-22.:)1' Subtmot Column lEl

tha nations month'a `ihlu report ` ~r'rom Golum_n A`. `

report .

aj l _ = B ,

32, cash receipts _ $ _l.$§_,_o $ jf:l_.'_l~_l:l; "(l 3 LZ_F"
33. Caah disbursements s B-&\Q "‘ s M“`® ' 3 Mrb
34. Net cash flow l 5 _~:Z|M .' 5 b1‘ 1 n l l
35. Total Pmieoted cash moelpta for the next month: 5 _l£§QT
aa, 'ratar projected nash disbursements for the ne>_<t months - s l I'fl , 950
a'r. Totar protected net cash now for ma non months = $ ‘.") l 011/,

 

Ofllela| Form 425¢ Monthly operating Raport for Sma|i Burr|nou under Chlpter 11 pape 3

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- 8. Addltlonal information
l{ availab|a, 'che¢;k the box to the left and attach copies ofthe following dowmenta,

d 88. Bnl'lk mmenlx for each open amount (redact all but ihe last 4 dlgi|s of account numbers).
n SB. Bank mound|la\ion reports for each ammunL

El 4a Flnano|al imports such as en lnoome statement (prot|t & loos) and/or balance sheet

n 41 . Budget, pm]endon, or forecast reporha. n

E| 42. Pro|eot. job coming or wom~|n-progresa reports.

Omo|al Form 425¢ Mnnthly operating Ro|mn for Smll| Bu¢!nm Undor Chlptor 11 page 4

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TRUPICA|_ SMUDTHIE CE F'AGE @?/ 31
T ' STATEMENT DF ACCOUNT
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Statement Per'lodt Jun 01 2018-dun 30 2018
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Pri mary Account #:

ACCOu nt #

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D.ays in Period , 30
Ch'e_c.ks Pa`id_ v , 1 95,291.07 `
E|ectronic Pay.ments 17, 284. 31
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Pri mary Account #:

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STATEMENT OF ACCOUNT

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.Electro`nic Deposits (cont_inued)

 

 

 

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06/25 ` CCD DEB!T MRCHNT Pl\/INT PROC FEES 434801377889 68.23
06/25 _ DEB|T POS, AUT _062518 DDA PURGHASE 61 _17
C_\/_s PHARMACY 02 0223'2 614EEI_\lL/¢\\/\/l\l4 *NY

4085404_020623710

Call 1-800¢937 -2000 for 24- ho'ur Bank- -by-Phone services or connect to www. tdban|< com

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Case 8-18-72000-reg
67¢3672616 62: 67PM 6314246766

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Doc 33

Americ_a s Most Convanlent Bank°

LAC_OS |NC ‘
DIP CASE 18- 72000 EDNY

Filed 07/30/18 Entered 07/30/18 15:51:31
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STATEMENT OF ACCOUNT

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__ 06/_19 _ DEB|T 5,6_56.00
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,05/31 7,050.9_7 06/15 ~12,475.04
06/0_1' 745_17 06/16 1-"_/,726.79
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- 06105 '6,1_10.49 06/_20 _»,10,63_6.7_2
06/06_ 6,0`90.11 06/2-1' 12,366137 '
06/07 -`2,951.52_ , 06/22' ,1'1-,760,52
08/06 2,926_69 06'/25 14,456;12
06/.151 3,'331.56 06/26 17,190..79 '
06/12 -10,156.52 06/27 14,261;7_7
06/13 1 .535.96 06/26 11,664.29'
06/14 3,613.16 06/29 -2,650.27

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67/36/2616_ 62:67PM 6314246766 1606104L 6r~10011416 06 6466 16/31

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DIP cASE 18-72000 EDNY

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07/03/2018 _ MRCHNT PM'NT PROC FEES $2,520.17 $19,066.39

 

Page 1 of 7

   

Case 8-18-72000-reg Doc 33 Filed 07/30/18 EnteredO7/30/1815:51:31
07£30/2016 02:076M 6314246766 _ 11606041_61~1001141606 __ __ 6466 17le

   

~.\ ~¢\.'

07/05/2018 ATM CASI-I bEPOSIT TW04CO90 410 NEW Y $400.00 $11,193.12

  

07/05/2018 VISA DDA PUR 426979 TH`E BA.RN HU'NTI 314.82 ($4,780.55)

 

07/06/2018 _ M'RCHNT PMNT PROC FEES 544.73 ($238.82)

Page 2 of 7

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07/09/2018 130 cHEcI`< _ $101_55 $6,946.60

A'I`M CASH DEPOSIT $3,400.00 $14,309.03

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07/10/2018 M.RCHNT PM'NT PROC FEES $99.51 $4',011.47
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67/11/2018 MRCHNT PMNT PROC DEPOSIT $514.43 $4,445.90

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DDA WITHDRAW TWO4CO90 410 NEW YO $500.00

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$42.98

   

   

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DDA WITHDRAW TWO4C09O 410 NEW YO $500.00

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R_ETU ED ITEM $2,966.71

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RETURNED ITEM 52,000.00

MRCHNT PMNT PROC DEPOSIT $4`98.45

  

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$22,199.58

$12,616.73

 

$9,1]6.73

 
 
 
   

$12,764.61

Page 4 of 7

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07/] 7/2018 ` DDA PURCHASE 319134 RESTAURANT D $690.36 $12,442.23

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l 07/17/2018 VISA DDA PUR 451239 JJ MULTIN[EDIA 0 $112.00 y $11,717.68

 

'- 07/19/2018 MRCI-I'NT PMNT PROC DEPOSIT $1,235.01 $11,296.76

    
  
 

; 07/19/2018 MRCHN'_I PM`NT PROC FEES $160.82 n $10,374.64

 
  
   
  

_ 07/20/2018 MRCHNT PMNT PROC DEPOSIT $2,426.67 $12,654-98
! _. . _ . `, ,L$.,_\,.. ,, _ -. . -- - - - -
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$4,272.02 - $8,144.64

 
   

- 07/23/2013 . DDA PURCHASE319134 RESTAURANTD $748.03 $5,436-41

Page 5 of 7

Case 8-18-72000-reg Doc 33 Filed 07/30/18 Entered 07/30/18 15:51:31

9?.-'“3@)’_2@18 @2:@7|:’1\'1 631424_8?55 TRUPICA|_ SMUU`_|'HIE CE PAGE_ _l/"_Bl

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07/23/2018_` DDA PURCHASE 319134 RESTAURANT D $663.50 S4,037.61

07/23/2018 VISA DDA PUR 461043 EZPASS PREPAID T $150,00 $3,733.57

 

07/`23/2018 MRCI-I'NT PMNT PROC FEES 356,31 $3,585.99

      
 
 

 
   

07/24/2018 MRCI-I'NT PMNT PROC DEPOSIT $5,245.22 $8,787.77

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1 _07/24/2018 1342'898 CHECK - $2,561.66 $2,636.19

   

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MRCHNT PM`N'I` PROC FEES $18 73 $1,708.02

 

$4,158.87

  

07/26/2018 DDA PURCHASE 770446 NORWICI-I SERVI $50.00 $4,035-60

 

 

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371“3@/2@18 BZ:B?PM 6314248?55 TRUPICA|_ SMUUT|-|IE CE PAGE 221'31
C}aeck Transactiog_§
l Number " Date Amount Number Date Amount Numbe'r Date Amount
1 141 7/2/2018 $11,000.00 1342900 7/23f2018 $735.30
` 147 7/2/2018 $4,578.19 1342901 7/24/2018 $223.75
160 7/5/2018 $916.00
160 7/6/2018 119 16.00
164 7/2/2013 $430.74
. 166 7/3/2018 $1,294.03
g 167 7/3/2018 3700.00
‘ 169 7/2/2018 1210.00
z 170 -7/5/2018 5826.75
j 170 7/6/2013 0326.75
z 171 7/5/2018 $4,000.00
172 7/16/2013 $4,000.00
j 173 7/5/2013 $3,500.00
§ 174 7/3/2013 $500.00
175 7/5/2018 $1,600.00
_ 175 7/6/2018 $1,600.00
g 176 7/5/2018` $1,092.00
5 176 7/6/20111 $1,092.00
_ 177 7/10/2013 $1,567_15
1 173 7/9/2018 $252.66
z 179 7/16/2013 .$5,582_35
180 7/9/2018 1101.55
182 7/6/20111 $174.13
182 7/9/2018 $174.13
182 7/9/2018 1174.13
183 7/10/2018 $180.90
184 7/17/2013 $1,114.02
187 7/11/2018 $3,634.43
5 183 7/16/zo1s $2,000.00
188 7/17/2018 $2,000_00
189 7/10/2018 $550.00
§ 191 7/13/2018 12,966.71
§ 191 7/16/2018 $2,966.71
192 7/16/20111 $1,500.00
192 7/17/20111 $1-,500.00
194 7/13/2018 $201.37
195 7/17/2018 11612.55
197 7/18/2018 $393.7'7
50002 7/2/2018 $103.75
134211112 7/23/2018 $4,272.02
13421163 7/20/2018 $5,000.00
1342396 7/25/2018 $992.00
1342398 7/24/2018 $2,561.66
13421199 7/24/2013 $3,589.92

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